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                       Exhibit 1
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 1                          UNITED STATES OF AMERICA
                          UNITED STATES DISTRICT COURT
 2                       CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
 3
                                     - - -
 4                      HONORABLE CHRISTINA A. SNYDER
                    UNITED STATES DISTRICT JUDGE PRESIDING
 5                                   - - -

 6
        MARCUS GRAY; ET AL.,              )
 7                                        )
                 PLAINTIFF,               )
 8                                        )        CASE NO.:
        VS.                               )        CV 15-5642-CAS
 9                                        )
        KATY PERRY; ET AL.,               )
10                                        )
                 DEFENDANT.               )
11     ___________________________________)

12

13

14                   REPORTER'S TRANSCRIPT OF PROCEEDINGS

15                            FRIDAY, JULY 19, 2019

16                           LOS ANGELES, CALIFORNIA

17

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19

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 1      LOS ANGELES, CALIFORNIA; THURSDAY, JULY 19, 2019; 9:15 A.M.

 2                                     - - -

 3                 THE CLERK:   Calling Calendar Item 1.

 4                 Case No. CV 15-5642.

 5                 Marcus Gray, et al versus Katy Perry, et al.

 6                 Counsel, please state your appearances.

 7                 (Appearances as heretofore noted.)

 8                 THE COURT:   Okay, Mr. Chieffo.

 9                 MR. CHIEFFO:   Yes, Your Honor.     We have which is

10     not unexpected, there is press coverage of the trial.          Uh,

11     both of testimony that's been, but also which seems to touch

12     upon issues that we sort of categorized as the moral rights

13     question.   And I would like to request another cautionary

14     instruction to the jury about not looking at any press

15     articles.   Thank you.

16                 THE COURT:   I'm happy to do that.

17                 Okay.   Now, let's take the matters that you've

18     shipped our way overnight.      First of all, let's take up

19     Exhibit 67.    I continue to believe that the plaintiffs are

20     correct and that Mr. Gray because he was involved in the

21     creation of the music video can identify the video as his and

22     he has already testified that he frequently monitored YouTube

23     to total times his video was viewed.        I don't think that's an

24     issue.

25                 Exhibit 69, again, I believe for the reasons stated



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 1     a performer, audiences, any way that music interacts with

 2     culture and society.

 3     Q.    And what kind of musical studies specifically were

 4     involved in obtaining all of the degrees that you already

 5     mentioned in music history, music performance and musicology?

 6     A.    So I have a grounding in music theory which is the study

 7     of how notes relate to each other.       That's a less historical

 8     discipline.    Uh, I have a grounding in music history in

 9     various eras.    Mostly European classical music like you might

10     hear at Walt Disney Hall.      Um, but also in American popular

11     music.   Um, most of my work is in what we call Western music,

12     United States and Europe of all eras.

13     Q.    And as part of your studies, did you study a subfield

14     called musical borrowing?

15     A.    Yes, I did.    Musical borrowing is an approach to the

16     understanding of how two pieces of music might relate to each

17     other.   So yes, that was a core -- it's a core aspect of how

18     musicologists of any kind do their work.

19     Q.    Um, so just so that it's clear, can you tell us again,

20     can you explain what is musical borrowing in simple terms?

21     A.    Musical borrowing is the study of how two pieces of

22     music or more, but let's say two relate to each other.          So

23     you look at the specific musical parameters of this music:

24     The rhythm, the melody, the harmony, the phrase length, all

25     these sort of music ways that we can describe what happens in



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 1     a piece of music.     And in musical borrowing, the study of

 2     musical borrowing, you consider how a composer took material

 3     from another piece and used it in their own piece.

 4     Q.    And so in that regard, what does the term borrowing

 5     means?

 6     A.    Borrowing means copying in this respect.        Um, borrowing

 7     is -- musical borrowing is a term of art in musicology.

 8     There's a huge entry on it in the standard dictionary of

 9     musicologist and music history.       Musical borrowing is a

10     category, but what it essentially means is a composer copying

11     material from elsewhere and putting it into their own work.

12     Q.    And so in your work, um, in analyzing different pieces

13     for musical borrowing, are you looking to identify whether

14     something is copied?       Is that accurate?

15     A.    Yes.

16                  MS. LEPERA:    Objection.   Legal conclusion.

17                  THE COURT:    I'm going to overrule the objection.

18                  MS. COHEN:    Thank you, Judge.

19                  Could you finish your answer?     I'll be careful.

20                  THE COURT:    Yeah, because obviously, we do not want

21     him to opine on a fact that is to be decided by the jury.

22                  MS. COHEN:    Understood.

23     Q.    Had you finished your answer?

24     A.    Uh, the -- the -- perhaps I'm suggesting the word copy

25     here in a more literal sense.      That a composer would copy



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 1     into their own music notes from someone else's music.          So

 2     it's and often that is the way you identify it by looking at

 3     composers' manuscripts and things like that.

 4     Q.    Okay.    So when you say copying do you ascribe any legal

 5     meaning to that?

 6     A.    No, no.

 7     Q.    And what features of two musical works do you compare

 8     when analyzing for musical borrowing?

 9     A.    So there's a set of things you can compare.        The rhythm

10     can be the same, a rhythmic pattern.        The notes can be the

11     same, um, and often in that case, you need to look at the

12     notes in a way that makes two works comparable.         So the two

13     works might be in a different key; right?        So to look at

14     borrowing between these two works, you might have to put them

15     into the same key or find another way to understand them in a

16     way that makes them comparable.

17                   You'll also look at if the material is used in the

18     same way in both pieces.      Maybe there's a gesture that Mozart

19     uses to start a piece.     If you find a piece by Beethoven that

20     starts in the same way, um, that would be another argument

21     for borrowing.     Particularly, if both of those pieces let's

22     say were in the same key same.       In the same key of say C

23     minor then it would be stronger.

24                   So that borrowing it's not enough to find one

25     element.   You need to find the cluster of elements or a



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 1     Q.      Do you know anything about them other than the fact that

 2     they're musicians?

 3     A.      I know they're Christian rappers, but I got that from

 4     the content of the song.

 5     Q.      Did you do any independent research as to who they are?

 6     A.      None.

 7     Q.      Do you have any financial stake in the outcome of this

 8     case?

 9     A.      I do not.

10     Q.      So tell us what specifically you were asked to do.

11     A.      I was asked to compare these two tracks on the

12     understanding that Joyful Noise had been composed before --

13     released before Dark Horse.

14     Q.      And were you asked to render an opinion?

15     A.      I was.

16     Q.      What materials were you given to review?

17     A.      The two audio files of the tracks as released.

18     Q.      Are you referring to the sound recordings?

19     A.      Yes, the sound recordings.

20     Q.      And Dr. Decker, did you need anything else in order to

21     compare the music?

22     A.      I did not.

23     Q.      So walk us through what you did in order to analyze the

24     works and render your opinion related to their similarity or

25     dissimilarity.



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  1    A.    Well, the first thing I did was listen to them

  2    back-to-back and toggling between the two.         I hummed or sang

  3    along so I played the material that sounded similar to me.           I

  4    went to the piano and toyed around with the notes on the

  5    piano to, uh, determine what pitch level they were at, what

  6    key they were in.     Um, and that was how I would, yes, by

  7    listening essentially.

  8    Q.    Did you put them in the same key?

  9    A.    I did, yes.

10     Q.    And how did you do that?

11     A.    Um, once you establish -- once I had established the

12     pattern that I heard as similar, I was able to transpose or

13     shift it, shift the two into one in the same key.          I also as

14     my report will show, found a way to describe their similarity

15     that did not require them to be in any key at all.          So I

16     could understand them without assigning a key to them, a

17     letter name.

18     Q.    And hopefully we'll get to understand some of these

19     terms a little bit better.      Sort of terms of art.      And so in

20     putting them in the same key, did you then put them down on

21     paper at any manner?

22     A.    At some point, I would have put them down on paper.           The

23     way I initially expressed them was in scale degrees so I did

24     not begin by writing out the music notation.         I began with

25     scale degrees.



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  1    Q.    Is that reflected in your report?

  2    A.    That is reflected in my report.

  3    Q.    And, again, what is it that you were looking to do?

  4    A.    I was looking to isolate the musical material, if there

  5    was any, to isolate if there was any musical material that

  6    was shared between two tracks.       And, um, I very quickly

  7    determined that there was and that it was an easily expressed

  8    similarity between the two that I could do in -- that I could

  9    express in writing or in words or in symbols quite easily.

10     Q.    And is all that work contained within your report?

11     A.    It's in my first report, yeah.

12     Q.    Um, you said that the primary method that you used to

13     compare the works was listening?

14     A.    Yes.

15     Q.    How many times did you listen to the songs?

16     A.    Uh, countless.    Musicologists can't keep count of how

17     many times we listen to what we work on.        We listen to it

18     over and over and then you go back and check again.          And then

19     you back and you check again, you write, you check.

20                  It's a constant back and forth to make sure that

21     the way you describe it matches what you hear on the

22     understanding that a colleague or student or someone else who

23     reads your description is going to do that as well.          They're

24     going to use your description as a guide for listening.          So

25     you want to get it right so you listen repeatedly.



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  1    Q.    And so we're going to get into the details of your

  2    opinion, but to summarize based on your expertise and music

  3    performance, musical history and musical borrowing, do you

  4    think Joyful Noise and Dark Horse are substantially similar?

  5    A.    I do.

  6    Q.    Do you think Dark Horse borrows from Joyful Noise?

  7    A.    I do.

  8    Q.    Did you memorialize your opinion in the form of a

  9    report?

10     A.    Yes.

11     Q.    I'd like to now shift to talk about the details of your

12     opinion.     In your report you said the most obvious or

13     pervasive similarity is the ostinato; is that right?

14     A.    Yes.

15     Q.    What is an ostinato?

16     A.    An ostinato is a repeating figure that cycles within a

17     piece.    Um, in this case it's eight notes long.       Uh, it's a

18     repeating figure that cycles and upon which the structure of

19     the piece is built.     So one analogy to use would be, um,

20     sections of toy train track.       The ostinato is a section and

21     you line up sections of that train track and build the piece

22     upon those repetitions of the ostinato.

23     Q.    And you said that the ostinato that you believe is at

24     issue here is eight notes?

25     A.    It's eight notes in length.



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  1    A.    Sure.    3 3 3 3 2 2 1 5, 3 3 3 3 2 2 1 5, 3 3 3 3 2 2 1

  2    5, 3 3 3 3 2 2 1 5.     Again, that was four repetitions of the

  3    ostinato in Dark Horse.

  4    Q.    And can you explain for us why it is you're singing in

  5    numbers?

  6    A.    Right.    We're singing in numbers with the little carets

  7    above them here.     Here I'm using what are called scale

  8    degrees and I do that for two reasons.        First --

  9    Q.    Well, wait.    First, can you tell us what is a scale

10     degree?

11     A.    So a scale degree is a number that identifies where a

12     given pitch -- it's a way to assign a number to a pitch in a

13     scale.    So one would be the tonic or the home note.        Five

14     would be the dominance for those with some musical training

15     and so forth.

16                   So there are seven pitches in a scale and so it

17     would seven scale degrees.      Scale degrees are indicated in

18     music theory with a number and a little caret above it so

19     that's why I use that caret.       That's music theory notations

20     or lingo.

21     Q.    And so what would happen after seven?

22     A.    Um, after seven you would be back at one.

23     Q.    Can you demonstrate that for us by singing?

24     A.    Sure.    I'll sing a major scale; right?      1 2 3 4 5 6 7 1.

25     Q.    Thank you.    Can you demonstrate in the minor mode?



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  1    A.    Uh, there are three versions of the minor mode so I will

  2    sing the natural minor 1 2 3 4 5 6 7 1.

  3    Q.    Thank you.    And what is the purpose of using scale

  4    degrees?

  5    A.    So scale degrees allow you to see through the

  6    differences in letter names.       For example, if you sing the

  7    song Happy Birthday and you sing it in C major, it would go

  8    C C D C F G.    If you sing it in G major, it would go

  9    G G A G C B.    Sounds like two completely different melodies

10     in that respect, but we all know that those are in fact the

11     same melody starting at different starting point.

12                 So a way to sing Happy Birthday that wipes

13     away those -- that elements letter names is to sing degrees.

14     1 1 2 1 4 3.    You can start on any pitch 1 1 2 1 4 3,

15     1 1 2 1 4 3, anywhere, and you have a sense for the

16     relationship of the notes in that melody.        The relationship

17     of the pitches.

18                 That's why scale degrees are so important in

19     musical borrowing cause if we're looking for relationships,

20     we can't be, um, it's -- it's useful not to be confused by

21     letter names; right?     This allows us to put a melody into no

22     particular key, but instead just see the relationships

23     between the notes in that melody.

24                 The other reason to use these and this is

25     especially important in musical borrowing is that scale



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  1    degrees have in them tendencies.       So if I sang Three Blind

  2    Mice, we all know where that second note would go.          Right?

  3    Three Blind Mice.     In scale degrees that would be 3 2 1.          So

  4    melodies in our musical system want to go to one.

  5                So that if you use scale degree 3 and you use scale

  6    degree 2, and if you understand the melody through scale

  7    degrees, you can identify the way that melody is using the

  8    way the music works to do its -- to express something or to

  9    make musical sense.     So this allows for a comparison of how

10     notes in comparable melodies do the same sort of work or have

11     the same sort of effect.

12                 There are scale degrees that want to go somewhere,

13     want us to go somewhere and scale degrees that say you're

14     home like 1.    So those are the two reasons why I use scale

15     degrees in this case.

16     Q.    And how do you measure the distance between notes in a

17     scale?

18     A.    Right.   So the distance between notes in a scale is

19     measured in half steps which is, um, the smallest musical

20     measure in our system.      And that is the space between two

21     adjacent notes on the piano whether they're both white or

22     white and black.     So half notes.

23                 So, for instance, in the minor mode, the distance

24     between the third and the second scale degree is a half step.

25     In the major mode, the distance between the third and the



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  1    second degree is a whole step.       So it's another way we

  2    understand how these notes work within a scale, melodies work

  3    within scales.

  4    Q.    So to get us moving along a little bit, I'm gonna list

  5    for you the similarities that you identified in your report.

  6    You can let me know if I cover through them all and then we

  7    can go through them each one-by-one.

  8                You identified substantial similarities between

  9    Joyful Noise and Dark Horse --

10                 MS. LEPERA:    I object to this, Your Honor.      She can

11     ask the question what are the materials in his report rather

12     than having her paraphrasing them.

13                 MS. COHEN:    That's fine.   I can do it that way,

14     Judge.

15                 THE COURT:    Thank you.

16     BY MS. COHEN:

17     Q.    In your report, Dr. Decker, what were the features of

18     the two songs that you identified as substantially similar?

19     A.    Well, first that they both have a prominent ostinato.

20     The length of the ostinato is similar, eight notes.          The

21     rhythm of the ostinato is similar.       The melodic content, the

22     scale degrees present.      The melodic shape so the -- the way

23     the melody moves through musical space.

24                 Similar, the tambor or the quality and color of the

25     sound is similar, and the use of the -- the placement of this



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  1                 And then the 6 and 5 at the end have to do with a

  2    leap down.    So while those notes are higher, our ear they're

  3    in a lower octave so they are actually a jump down.          So to

  4    sing it again, 3 3 3 3 2 2 2 1, 3 3 3 3 2 2 2 6.         There's a

  5    leap there that then we jump back up to 3 to restart the

  6    ostinato.

  7                 This also happens in Dark Horse.      3 3 3 3 2 2 1 5,

  8    3 3 3 3 2 2 1 5.     So that, that descending melodic trajectory

  9    and also the fact the melody sits on 3 for four playings

10     is -- is noteworthy.

11     Q.    And is that descending quality or contour of the

12     ostinato is that something that you see commonly in this kind

13     of music?

14     A.    I don't know.    Um, it's -- it's shared by these two, um,

15     it's shared by these two examples in an identical fashion.

16     So I wouldn't -- I wouldn't speak to all possible music.

17     It's one option.     A descending contour is one option.

18     Q.    Do you see it often?

19                  MS. LEPERA:   Objection.   See what?

20     BY MS. COHEN:

21     Q.    Do you see this often with an eight note ostinato or

22     beat such as this that you would see commonly that a beat

23     descends in this fashion?

24     A.    I have not seen another, a third piece that descends in

25     the way these two do.



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  1    Q.    Is that significant to you?

  2    A.    Oh, certainly, certainly.

  3    Q.    So as far as the phrase length goes, I think you already

  4    testified that there are eight beats in each --

  5    A.    Yes.

  6    Q.    -- in each ostinato.       Um, is that characteristic in

  7    contemporary beat driven music?

  8    A.    Sure.    It's characteristic for a phrase like this to

  9    last for eight beats.        What's distinctive here is that rhythm

10     of eight beats is completely even.       All eight of those beats

11     for both ostinatos are completely the same.

12                   So a way to demonstrate that would be to clap this,

13     um, clap the ostinato.       So I'll sing both ostinatos and clap.

14     3 3 3 3 2 2 1 6, 3 3 3 3 2 2 1 5.        So if I just clap the

15     rhythm of these ostinatos without singing.

16                              (Witness clapping.)

17                   THE WITNESS:    Completely even, all of the values

18     are the same, and they unfold, um, with no syncopation.          For

19     example, these are squarely on the beat which is unusual.           In

20     popular music in America for the last 150 years, syncopation

21     has been the thing that says American music and that's

22     lacking here.

23     BY MS. COHEN:

24     Q.    What is syncopation?

25     A.    Syncopation is a melody that has notes or accents that



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  1    are off the beats.

  2    Q.    Would you demonstrate an example of that?

  3    A.    So syncopation the Dark Horse 3 3 3 3 2 2 1 5,

  4    3 3 3 3 2 2 1 5.     There I'm syncopating and creating some off

  5    beat accents.    Those are lacking off beat accents which are

  6    entirely characteristic of almost all American popular music

  7    since 1900.    Are both -- syncopation is lacking in both of

  8    these ostinatos and that's noteworthy and I think kind of

  9    cool, actually.

10     Q.    And is that what you just described for us the melodic,

11     um, I think you call it meter time is that referred to as

12     rhythm?

13     A.    Rhythm is the occurrence of musical events in time.          So

14     we can say here that these musical events occur in -- in --

15     they're of equal length and they're, um, they're all the same

16     in terms of their length.

17     Q.    So let's talk about another similarity that you found

18     which you said was the pitch content.

19     A.    Yes.

20     Q.    Can you explain for us the pitch in super simple terms?

21     A.    Yes.

22     Q.    As simple as you can.

23     A.    So to return to scale degrees, uh, this is in the minor

24     mode and the third scale degree in the minor mode is a very

25     important scale degree.      So I mentioned that there are three



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  1    forms of the minor mode.      The only note that stays the same

  2    in all three of those is the third scale degree which is

  3    lower than the third scale degree as you would find it in the

  4    major mode.

  5                So just to demonstrate, Three Blind Mice, 3 2 1.

  6    That's the major mode.      3 between 3 and 2, there's two half

  7    steps, 3 2.    Between 2 and 1, there's two half steps, 2, 1 so

  8    those are two steps; right?      In the minor mode, 3 is just a

  9    half step above 2 so 3 2 1.      3, this is minor mode, 3 2, 3 2

10     1.   A half step followed by a whole step.

11                 Looking at this ostinato, both of the ostinatos at

12     issue here are in the minor mode.       They insistently sit on

13     that lowered third degree.      The lowered third degree that

14     says to our ear we're in the minor mode 3 3 3 3.         That's

15     completely identical in both ostinatos.        Four playings, four

16     soundings of the lowered third degree of the minor scale,

17     third scale degree.

18                 And then at exactly the same moment, both ostinatos

19     step down to 2.      Remember I mentioned that scale degrees want

20     to go places?    3 wants to go to down to 2.       3 in minor mode

21     3333332.    Right?    You repeat it more often and it creates

22     more of a desire for it to go down.        It is striking in these

23     two ostinatos that after four playings they both step down --

24                 THE COURT:    I'm sorry?

25                 MS. LEPERA:    Objection to the phrase.



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  1                THE COURT:    Yes.    Sustained.

  2                MS. LEPERA:    Can we have that testimony stricken?

  3                THE COURT:    Yes, the words striking will be

  4    stricken so to speak because we're talking about substantial

  5    similarity not striking similarity.

  6                THE WITNESS:    So it's significant that those four

  7    iterations -- after four iterations of three, four even

  8    notes, even rhythms both of these ostinatos step down to two

  9    at exactly the same spot.        At the fifth note which is the

10     strongest note rhythmically in this ostinato, 1 and 5 are the

11     strong and rhythmic points of arrival here.

12                 So the two ostinatos at issue for the first six of

13     their notes are absolutely identical.          3 3 3 3 2 2.   There's

14     no way to which of the ostinatos I was singing there cause

15     that what I just sang expresses both of them equally well.

16     BY MS. COHEN:

17     Q.    And if you had to say which of these eight notes is most

18     significant in the ostinatos?

19     A.    For me it's the, it's the fifth note when the music

20     shifts down from the -- it's hard to say what single one note

21     is the most significant, but to me it is that gesture where

22     we repeat third scale degree three times building up tension

23     that wants to be released and it's released to two on a

24     particularly strong beat.

25                 So that's the moment that for me is particularly



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  1    significant and signals to me through several different

  2    levels here; right?       Rhythm, pitch content, expressed as

  3    scale degrees, um, and a pattern of repetition that these two

  4    pieces have a relationship to each other.        That these two

  5    themes have a relationship to each other.

  6    Q.      And I believe you mentioned tambor and their similarity.

  7    What is tambor?

  8    A.      Tambor is a squishy set of words that we use to describe

  9    the quality or sometimes we say the color of sound, but it's

10     not necessarily blue or green that we're talking about here.

11     It's a way to put into words the distinctive color or quality

12     of a sound that we hear.       It's a particularly difficult area

13     to pin down.

14                  MS. COHEN:    Okay.   Since it's hard to describe with

15     words, why don't we listen to each of the songs.         We would

16     like to play Exhibit 75 which is Joyful Noise first, and then

17     an excerpt of Dark Horse Exhibit 76 second.

18                  THE COURT:    Fine.

19                  (Exhibits 75 and 76 played for the jury.)

20     BY MS. COHEN:

21     Q.      So after having listened again, if you had to describe

22     in the words the tambor of the ostinatos, how would you do

23     that?

24     A.      So they're not identical, but they both sit within the

25     same family of sounds.       The first thing I notice about them



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  1    when you listen to a Beatles' record, you hear John's bass,

  2    you hear George's rhythm guitar, you hear Ringo on drums and

  3    you might hear -- I'm sorry.       Paul's bass.    Excuse me.

  4                 You hear Paul McCartney's bass.      Ringo on drums.

  5    George Harrison on a guitar solo and John on rhythm guitar;

  6    right?   So you've got four separate players.        They are

  7    fitting in the texture together and you can listen to any of

  8    those elements that you want to; right?        They're all

  9    happening simultaneously.

10                  So that the texture suggests four men playing

11     instruments, it suggest four instruments being played, and

12     it's mixed in a way so that we can feel or so that we can

13     sort out the different elements.       So texture in one way, I

14     often talk about pop records being transparent, but thick.

15     So that they're full of sounds, but they're mixed in a way

16     that we can hear each of those sounds, can distinguish each

17     of those sounds.     And what is striking -- does that answer

18     the texture?

19     Q.    Yes.

20                  MS. LEPERA:    Again, Your Honor, keeps using the

21     word striking.

22                  THE WITNESS:   Oh, sorry.

23                  MS. COHEN:    I apologize, Your Honor.

24                  THE WITNESS:   I apologize.

25     BY MS. COHEN:



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  1    Q.    Do you attribute any legal meaning to --

  2    A.    No, I'm not attributing legal meaning to it.

  3                 THE COURT:   Just so the jury understands, this

  4    opinion is that the songs are substantially similar and that

  5    is the claim in the case.      We have a different standard that

  6    applies if the opinion were they were strikingly similar.

  7    And therefore, we're trying to separate the two because this

  8    case is based on substantially similar as is this opinion.

  9                 MS. COHEN:   Try to avoid using that term.

10                  THE WITNESS:   Yes, I apologize.

11     BY MS. COHEN:

12     Q.    And so what did you find when you compared the texture

13     of each song Joyful Noise and Dark Horse?        What did you find

14     with respect to the similarity?

15     A.    I think at this particular -- I've heard, I've heard

16     both textures as remarkably empty.       There are relatively few

17     things going on and this is especially at the beginning of

18     both of these tracks when we're first hearing these melodies.

19     Um, when we first hear these ostinatos, they are in relative

20     isolation.    There's very little else going on.       It's only

21     this one thing happening.      Um, other things happen through

22     the course of track.      This is the nature of pop music for

23     layers to come in and go out, but the ostinatos are

24     introduced in both tracks in -- in isolation which directs

25     your ear to it.     It's the only thing to listen.      It's the



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  1    and the answer.

  2                 THE COURT:   I think you should withdraw it, yes.

  3                 MS. COHEN:   Yes, I will.

  4                 THE COURT:   And I'll strike the answer.

  5    BY MS. COHEN:

  6    Q.    So I'll try again.     When you listen to the texture of

  7    the songs and the empty quality that you described in the

  8    texture, is that unusual for this kind of music?

  9    A.    I think it is.

10     Q.    Now, you acknowledged earlier that there are some

11     distinctions in the songs; correct?

12     A.    Yes, of course.

13     Q.    Let's talk about some of those.       Can you pull up that

14     chart from page 6 again, please?

15                  So you describe for us the first six notes or beats

16     which you testified are the same, the identical notes for the

17     first six; right?

18     A.    Yes.

19     Q.    What about the last two notes?

20     A.    So as you can see, the last two notes are different.

21     Let's talk about Joyful Noise first.        Joyful Noise has two

22     alternate and alternating endings to its ostinato.          Right?

23     It plays, just to talk through the entire ostinato there,

24     there's four repetitions of three followed by three

25     repetitions of the second scale degree, and then it



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  1    alternates between dropping to 1 and dropping to 6.

  2                I'll demonstrate.    3 3 3 3 2 2 2 1,

  3    3 3 3 3 2 2 2 6.     So that Joyful Noise offers two options,

  4    two solutions to the problem of how to end the ostinato and

  5    restart it.    Right?   So one of the things that has to happen

  6    to end this ostinato, 2 wants to go to 1.        2 desperately

  7    wants to go to 1.     So 2 goes to 1 in one of these alternating

  8    versions, but there's also some musical pleasure to be had

  9    from a leap -- from a leap down like that that then vaults us

10     up back up to 3.

11                 So singing the sixth version 3 3 3 3 2 2 2 6,

12     3 3 3 3 and that vaulting up in some way signals to our ear

13     the ostinato is starting again.       Um, it's also -- there's a

14     harmonic, there's something going on harmonically there, too.

15     It's suggesting a 5 1 sort of feeling, although with a sixth

16     scale degree.

17     Q.    And why is it that the 2 wants to go back to 1?

18     A.    The 2 wants to go to 1, um, that's another tendency

19     tone; right?    The 3 wants to go to 2, the 2 wants to go to 1

20     because 1 is our home note.      1 is the magnet against which

21     individual notes in the scale are pulling or not.          And scale

22     degrees allow us to describe that, um, energy as it moves

23     through a melody.

24     Q.    So I think you've mentioned Joyful Noise.        What about

25     the last two notes in Dark Horse?



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  1    A.      The Dark Horse uses both of the options offered in

  2    Joyful Noise.       Joyful Noise models two ways to end this

  3    ostinato and Dark Horse uses both in every repetition.          So as

  4    you can see it goes, this is Dark Horse now, there's four

  5    repetitions of 3, two repetitions of 2, and then it goes to 1

  6    because 2 is gonna have to go to 1.        2 wants to go to one.

  7                    There is also the pleasure of that leap down and

  8    the rebounding back up.       That happens in Dark Horse in 8th

  9    beat.    Again, there's harmonic implications here that we do a

10     5 1 for those of you with some knowledge of music theory.           It

11     manages to take qualities from both of the endings of Joyful

12     Noise and bake them into every repetition of the Dark Horse

13     ostinato.       So if I could sing?

14     Q.      Sure.

15     A.      3 3 3 3 2 2 1 5, 3 3 3 3 2 2 1 5 and so on.

16                     So that the two ostinatos, um, might end

17     differently in terms of the actual rhythm of the notes, but

18     they're adopting and sharing similar musical strategies for

19     how to end this ostinato.

20     Q.      And so you acknowledge that the last two notes in the

21     song are different; correct?

22     A.      Certainly.

23     Q.      Um, and do you -- do you believe that those differences

24     are meaningful?

25     A.      I think that they, they, uh, they are meaningful in the



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  1    sense that you've got the endings of these ostinatos are not

  2    identical, but they are -- the -- the way, the strategies

  3    that both ostinatos use to end the ostinato and to restart it

  4    are similar.

  5    Q.    You also mention that the keys are different in Joyful

  6    Noise and Dark Horse; right?

  7    A.    Right.

  8    Q.    What is the first distinction that you observed with

  9    respect to the key?

10     A.    So Joyful Noise is in the key of A so Joyful Noise's 1

11     note is A.     So if we were going to spell Joyful Noise, we

12     would spell it C C C C -- sorry.       C C C C B B B A; right?      We

13     would sing those letter names.

14                  Dark Horse is a half step higher.      Its home note is

15     B flat.   So if we were going to sing Dark Horse, we would

16     sing B flat B flat B flat B flat A.        Sorry.   That was wrong.

17     D flat D flat D flat D flat C C B flat E flat.         They have

18     different home notes.      That difference is negligible when you

19     translate these into scale degrees.

20     Q.    Is key sometimes referred to as pitch?

21     A.    It's -- it's the starting note.       It's the note letter

22     name that you start a piece on.

23     Q.    And so you said that Dark Horse being in B flat is

24     that -- you said it's one half step apart?

25     A.    It's a half step higher than Joyful Noise.



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  1    Q.    Okay.    So for a layperson like me is that something that

  2    in your expert opinion is a difference that's recognizable

  3    audibly?

  4    A.    I would not think so.      They are quite close.     In fact

  5    they couldn't be closer; right?       There is no, um, a half step

  6    apart, two pieces that are a half step apart could not be

  7    closer.

  8                  MS. LEPERA:    Lay listener.

  9                  THE COURT:    Yes, I think . . .

10                   MS. COHEN:    I'm sorry, Judge.    I'm asking in his

11     expert opinion.

12                   THE COURT:    Well, but he can't give an expert

13     opinion on what the jury has to decide.          And he persists in

14     doing that and if this continues, we will remove him from the

15     stand.

16                   MS. COHEN:    Understood.

17     Q.    Dr. Decker, let's move on to talking about tempo.

18     That's third distinction that you --

19     A.    Yes.

20     Q.    -- recognized in your report; is that right?

21     A.    Yes.

22     Q.    How do you count music?

23     A.    You count it by popular music like this is counted in

24     beats per minute.     The tempo or the speed of the music is

25     quantified in beats per minute.



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  1    Q.    And do you recall how many beats per minute are in

  2    Joyful Noise?

  3    A.    154 beats per minute.

  4    Q.    And do you recall how many beats per minute are in Dark

  5    Horse?

  6    A.    132.

  7    Q.    And in determining the difference between the tempo as

  8    far as the beats per minute, is that math you do in the

  9    course of your work?

10     A.    Yes.    Well, I use, uh, I tap the, uh, I use a metronome;

11     right?   I have a metronome and I match the beats on the

12     metronome to the tempo of the recording.

13     Q.    And then is that how you determine the difference in the

14     tempo?

15     A.    It is.    That's how I determine the tempo of the

16     respective tracks.

17     Q.    So is Dark Horse faster than Joyful Noise?

18     A.    No.    Dark Horse is slower than Joyful Noise.

19     Q.    Okay.    And how much slower is it?

20     A.    By about 22 beats per minute.

21     Q.    Um, is that difference meaningful to you?

22     A.    I hear both of these tracks as moderately paced.         They

23     are not dance tracks, they are not fast and they are not

24     ballads.     They are similar in their moderate tempo.

25     Q.    And so to summarize, the three distinctions that you



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  1    the amount of seconds during which the instrumental beat or

  2    the ostinato plays in Dark Horse?

  3    A.    I did using the time code from the recording.

  4    Q.    And that's in your report?

  5    A.    That's in my report.

  6    Q.    And can we pull up page 12?

  7                Can we have permission to publish to the jury

  8    page 12 from Exhibit 81?

  9                THE COURT:    Yes.

10                 MS. LEPERA:    It's an incomplete page.

11                 THE COURT:    I don't know what that means.

12                 MS. LEPERA:    It's an incomplete page from this

13     report, Your Honor.      It starts at an incomplete sentence on

14     the top page.

15                 MR. CHIEFFO:    Could you please -- I don't think

16     that's been permitted.

17                 MS. LEPERA:    It's not even been admitted into

18     evidence.

19                 THE COURT:    Is it part of the expert report?

20                 MS. COHEN:    It is part of the expert report.

21                 THE COURT:    The expert report's not gonna come into

22     evidence.

23     BY MS. COHEN:

24     Q.    Dr. Decker, do you recall, roughly, how many seconds the

25     ostinato plays in Dark Horse?



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  1    A.    95 seconds.

  2    Q.    And when you say that, are you referring to the eight

  3    note ostinato?

  4    A.    I'm referring to the eight note ostinato that I have

  5    been describing.     That is heard in Dark Horse for 95 total

  6    seconds.

  7    Q.    Now, do you have an understanding that the defendants

  8    have engaged a musicologist or an expert as well?

  9                MS. LEPERA:    Objection, Your Honor.     Rebuttal.    May

10     we have a side bar?

11                 THE COURT:    I think we need to have a side bar

12     because this entire performance is out of hand on all sides.

13             (Following proceedings were held at side bar:)

14                 MS. LEPERA:    Dr. Decker is about to speak about my

15     musicologist and presumably his conclusions and rebut them

16     before my musicologist has testified.        So I want to make sure

17     that did not occur and that's where it appeared to be going.

18                 THE COURT:    I thought he was going to be able to

19     testify.

20                 MS. LEPERA:    In rebuttal of my musicologist not

21     before my musicologist testifies.

22                 THE COURT:    Well, if we want to take him off the

23     stand and recall him, we can do that.

24                 MS. LEPERA:    Dr. Ferrara hasn't put in testimony

25     and to have it be rebutted before it's even addressed is not



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  1                MS. COHEN:    We will be putting on the defendants in

  2    our case-in-chief with respect to two witnesses, one of which

  3    we did.

  4                THE COURT:    I'm not disagreeing.

  5                MS. COHEN:    We also entertained a request by you to

  6    allow you to do your direct in our case-in-chief related to

  7    two more defendants.      This is one-sided treatment.

  8                MS. LEPERA:    Again, rebuttal by an expert before

  9    the expert testified to what his opinion is is not the same

10     thing as calling a witness out of order.

11                 THE COURT:    Here's what I'm going to say.      I don't

12     care how you do it.      If you want to examine him at this point

13     in time on this subject, that's fine with me.         However, do

14     not -- we're not going to recall him again to rebut Ferrara

15     or anyone else.

16                 MS. COHEN:    Correct.

17                 THE COURT:    And as long as you do that and if you

18     want to do it now, it's fine with me.

19                 MS. COHEN:    Yes, Your Honor.    I apologize about his

20     language.    Obviously, he's not aware of the legal issues

21     going on in this case.

22                 THE COURT:    He is a very smart gentleman who likes

23     to perform and he's just got to tone it down and stay within

24     the four corners of his opinion.       That's all.

25                 MS. LEPERA:    My other issue is now we have a phrase



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  1    called musical borrowing that creates an issue of copying in

  2    this case.

  3                 THE COURT:    That's why I have sustained objections.

  4    Musical borrowing wasn't copying per se.        I think you're

  5    getting unduly excited.      I know everyone has strong opinions,

  6    but do a better job of containing yourselves.

  7                 MR. KAYIRA:    I didn't realize I was nodding.      I

  8    apologize.

  9                 THE COURT:    Cut it out because the jury sees it and

10     it does not appear good for anyone.

11                  MS. COHEN:    Can we make some statement to the jury

12     with regard to what's going on?

13                  THE COURT:    I'm more than happy to do that.     Just

14     so I'm saying the same thing, he is rebutting?

15                  MS. COHEN:    Certain opinions of defendant's expert

16     Dr. Ferrara.

17                  THE COURT:    Okay.

18                  MS. LEPERA:    I understand Your Honor is allowing

19     that.

20                  MS. COHEN:    He's getting on a plane.    This will be

21     the last day you see him.

22                           (Side bar concluded.)

23                  THE COURT:    Okay, ladies and gentlemen we're back.

24                  Let me try to explain why we all went running over

25     to the side bar.     Professor Decker is testifying as an expert



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  1    time with the words, can you sing for us Jolly Old

  2    St. Nicholas?

  3    A.     (Singing) Jolly Old St. Nicholas, lean your ear this

  4    way.

  5                   Is that enough?

  6    Q.     Yes.

  7    A.     Thank you.

  8    Q.     And now can you sing it in the same way that you've done

  9    for Joyful Noise and Dark Horse using the scale degrees?

10     A.     Sure.    3 3 3 3 3 2 2 2 1 1 1 1 3.

11     Q.     Dr. Decker, in your expert opinion, is this the same as

12     the ostinato in Joyful Noise and Dark Horse?

13     A.     It is not.

14     Q.     And what makes you say that?

15     A.     Several reasons.    It's not an ostinato.     It's a tune.

16     The repetition, the -- the six notes labeled here, um, are

17     part of a tune.      They're part of the larger structure.      They

18     must be understood in context so that.

19                    Also, and another aspect that I disagree with this,

20     um, is that this song is the major mode.        So that the third

21     degree here is, um, different in pitch content than the third

22     degree in the ostinatos at issue here.        So 3 3 3 3 2 2 2

23     that's Jolly Old Saint Nicholas.       That's in major.

24     3 3 3 3 2 2 2.      The ostinatos at heard are in minor

25     3 3 3 3 2 2 2.      So this is a, uh, this is where music



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  1    terminology can be, um, can be -- can obscure differences.

  2                   Both of those are the third degree of the scale.

  3    Right?   Both of them are the third scale degree in major and

  4    the third scale degree in minor are different pitches even if

  5    they are both the third scale degree.        And that is, again,

  6    the substantive and unchanging difference between the major

  7    mode and the minor mode is that third degree.         So that is a

  8    difference in literally in the -- in the pitch between these

  9    two.

10     Q.     And Dr. Decker, is it important in comparing these works

11     to acknowledge the 7th and the 8th note?

12     A.     In the, well, okay.    So as I said this is a tune and not

13     an ostinato so it goes its way.       These, uh, these six notes

14     are part of a melody, a tune that repeats, uh, within the

15     nature of this -- of this tune.       It's not an ostinato so it's

16     a context difference.

17     Q.     And so are you persuaded that Jolly Old Saint Nicholas

18     is an example of a prior use of the beat from Joyful Noise?

19     A.     I'm not.

20     Q.     Let's talk about Merrily We Roll Along.       If we could

21     show the demonstrative.      It's marked as page 18.     Do you

22     recognize this as sheet music provided by Dr. Ferrara for

23     Merrily We Roll Along?

24     A.     I do.

25     Q.     You've had an opportunity to review this?



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  1    A.    Yes.

  2    Q.    In your opinion can you tell us whether you're persuaded

  3    that this is a prior example of the music in Joyful Noise's

  4    eight note ostinato?

  5    A.    In my opinion it is not.

  6    Q.    And why is that?

  7    A.    Again, this is not an ostinato.       Again, this is in the

  8    major mode and not in the minor mode.        And those would be,

  9    you know, and -- and yes.      And again it's part of a tune as

10     opposed to an ostinato.

11     Q.    I'm now going to reference defendant's demonstrative

12     page 32, please.     Dr. Ferrara also opines there's more than

13     one note at beat 1, beat 5 and beat 8 as depicted in this

14     demonstrative.     Do you agree with him?

15     A.    I do not.

16     Q.    And why is that?

17     A.    I hear those pitches.     I hear these sliding pitches that

18     are, um, entered into the table here, but I do not hear them

19     as structural.     I do not hear them -- I hear them as

20     ornaments.    As decorations on the core notes that make up the

21     ostinato.

22     Q.    Maybe I should ask you what is your understanding of a

23     sliding note so we can all understand?

24     A.    So is a sliding note is a -- is a gesture that moves

25     between two so 1 1 (singing).



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  1    Q.    And so here do you believe that the way that the beats

  2    are -- the way that they sound warrants having more than one

  3    note at 1, 5 and 8?

  4    A.    I do not because I hear those gestures.        I hear those

  5    gestures in Joyful Noise.      They are certainly there, but I

  6    don't give them structural weight.       I don't believe that they

  7    are part of the structure of the ostinato.         They're

  8    decorative and, uh, ornamental.

  9    Q.    And so in that regard, do you consider what Dr. Ferrara

10     believes to be a sliding note persuasive evidence that Joyful

11     Noise and Dark Horse are different?

12     A.    I don't.

13     Q.    Dr. Ferrara also focuses on the fact that the last two

14     notes in 7 and 8 render the ostinatos different from one

15     another.    Do you agree with that?

16     A.    I stated that they are different, yes.

17     Q.    Okay.    And when you demonstrated for us -- strike that.

18                   Do you agree with Dr. Ferrara that the difference

19     in the 7th and 8th note causes Joyful Noise and Dark Horse to

20     be not substantially similar?

21     A.    I do not.

22     Q.    And why is that?

23     A.    As I explained, I hear Dark Horse using both of the

24     options offered by Joyful Noise.       So I understand the

25     relationship between those two ostinatos as one where Dark



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  1    Horse is developing materials heard in, uh, Joyful Noise.

  2    Right?   It's applying -- it's -- it's, um, developing, it's

  3    working with them.     It's changing them in ways, uh, that to

  4    my ear have evidence for, um, borrowing.

  5                 MS. LEPERA:    Objection.

  6                 MR. CHIEFFO:   I think that needs to be stricken,

  7    Your Honor.

  8                 THE COURT:    I think that the word borrowed needs to

  9    be stricken.    The witness has described borrowed for you

10     before that he's using it in a musical sense.         But the

11     difficulty and the reason we have these objections, ladies

12     and gentlemen is there is a concern there may be a confusion

13     between borrowing and copying.       And you're the people who

14     have to decide whether something has been copied or not.

15     That's going to be part of your assignment.

16                  So we are trying to urge this witness not to use

17     the word borrowing even though he's using it in a purely

18     musical sense and he's not using it in the legal sense of

19     copying so that's why we're going through this.         So if you

20     can help me, I'd be grateful.

21                  MS. COHEN:    Thank you, Judge.

22     Q.    Dr. Decker, Dr. Ferrara also opines there's two

23     ostinatos observed in Dark Horse.        Do you agree with him?

24     A.    Yes.

25     Q.    Can you identify the two ostinatos, please?



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  1    about?

  2    A.    That is the four note ostinato, yes.

  3    Q.    And can you describe for us the effect of the sound that

  4    you believe that ostinato has?

  5                 MS. LEPERA:    Objection.

  6                 THE COURT:    I'm sorry?    Can you rephrase it

  7    perhaps?

  8                 MS. COHEN:    I think I'll just strike it.

  9                 THE COURT:    Okay.

10                  MS. COHEN:    Thank you.

11     Q.    Dr. Decker, do you agree with Dr. Ferrara that the

12     ostinato, the four note ostinato comes from -- I'm sorry.

13     Strike that.

14                  Do you agree that the eight note ostinato

15     originates from the four note ostinato in Dark Horse?

16     A.    I do not.

17     Q.    And why do you not agree with him?

18     A.    I do not hear these materials as related in the way they

19     unfold in the track.       So in analyzing a musical work, you

20     don't necessarily understand it best by listening to it in

21     order and saying this happened first, and then this happened.

22     So the first thing that happened had to have been made or be

23     the ground from which the next thing that happened unfolds.

24     All right.

25                  So we don't necessarily analyze music in order.        We



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  1    can understand that music is made out of order.          Sections of

  2    a piece are made out of order.       And that it might be that

  3    what we hear first came out of something that we hear later,

  4    but that was composed first.       So the order of the

  5    composing -- of the materials in the piece is, uh, remains at

  6    issue for me.    And that as I understand is the argument put

  7    forward here.

  8    Q.    And so in looking at page 27 from defendant's

  9    demonstrative, do you recognize the top line or example as

10     the four note ostinato in Dark Horse?

11     A.    Yes.

12     Q.    And do you recognize the second example as the eight

13     note ostinato from Dark Horse?

14     A.    I do.

15     Q.    Okay.   And so Dr. Ferrara has them labeled here the four

16     note is Ostinato No. 1 and the eight note is Ostinato No. 2.

17     Do you see that?

18     A.    Yes.

19     Q.    And so do you agree that the notes here are notated

20     properly as far as the scales go?

21     A.    The pitches of these notes and the repetition pattern is

22     accurate.

23     Q.    Okay.   Is it just the numbering of the ostinatos that

24     you disagree with?

25     A.    So, um, the -- the numbering of the ostinatos makes



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  1    sense in the piece.     The first ostinato, Ostinato 1 is heard

  2    first.    Ostinato 2 is heard second.

  3    Q.      I see.   Um, if you had to say which ostinato was born

  4    from the other, what is your opinion in that regard?

  5    A.      So, uh, musical materials, the Ostinato 1 is a

  6    collection of pitches.      Four pitches taken from the scale.

  7    Three scale degrees 3, 2 1 and 5.       A collection of pitches

  8    played in a particular order.       So in that respect, it's a --

  9    it has a certain -- it's a -- there's a limited amount of

10     specificity here; right?      In terms of our repetition pattern

11     or, um, a pattern, repetition pattern.

12                  Ostinato 2 displays more specific musical choices;

13     right?    We still have 3 2 1 and 5, but 3 is repeated four

14     times.    2 is repeated twice.     1 happens once and 5 happens

15     once.    There are, um, musical decisions that have been made

16     to create Ostinato 2.      Um, there are more music decisions

17     that have been made.

18                  There are more things to talk about, more

19     distinctive qualities to Ostinato 2.        While Ostinato 1 is a

20     collection of the four pitches each played once.         In some

21     ways you can say there's more specific information to talk

22     about in Ostinato 2, musical information.

23     Q.      And does that persuade you that it's more likely that

24     Ostinato 1 was born from Ostinato 2 as opposed to the other

25     way around?



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  1    A.    I hear the piece as Ostinato 1 as being a reduction of

  2    materials found in Ostinato 2.          So that the repetition

  3    pattern's taken away and you're left with the four pitches,

  4    the four scale degrees that are there in Ostinato 1.

  5    Q.    So put differently, do you believe that the four note

  6    ostinato was inspired by the eight note ostinato of Dark

  7    Horse?

  8    A.    I do.

  9    Q.    Now, turning back to your opinions, you said that you

10     believe that both patterns from Dark Horse, the four note

11     ostinato and the eight note ostinato which form the musical

12     track for the song is derived from the ostinato in Joyful

13     Noise; is that right?

14     A.    Yes.

15                   MS. LEPERA:    Objection.    Where in the report?

16     That's not in the report, Your Honor.

17                   THE COURT:    Well. . .

18                   MS. COHEN:    I'll find it, Judge.    The bottom of

19     page 12.     Exhibit 81 page 12 Paragraph J.

20                   MS. LEPERA:    Thank you.    Withdraw the objection.

21                   THE COURT:    Thank you.

22     BY MS. COHEN:

23     Q.    So Dr. Decker, in your report you state, I just want to

24     ask the question again so we don't lose track of it.             You

25     state that you believe both patterns from Dark Horse, both



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  1    the four note ostinato and the eight note ostinato form the

  2    musical track for the entire song and that those can be said

  3    to be derived from the ostinato in Joyful Noise; is that

  4    right?

  5    A.    Yes.

  6    Q.    And why is that important?

  7    A.    Uh, it's important because it suggests the, uh, the

  8    power, the power of this pattern, this repetition pattern

  9    found in Joyful Noise; right?       The musical power, the musical

10     efficacy of that particular phrase and gesture.

11     Q.    And because the large scale form is similar, can you

12     imagine Juicy J, for instance, rapping to Joyful Noise?

13     A.    Yes.

14     Q.    After everything we've just discussed, is it your

15     opinion that Dark Horse is substantially similar to Joyful

16     Noise?

17     A.    It is.

18     Q.    And do you believe that -- strike that.

19                  Dr. Decker, all the opinions that you've expressed

20     here and in your report, are they based upon your years of

21     experience and expertise as a musician and music historian?

22     A.    Yes.

23     Q.    And just to be technical, were all of the opinions that

24     you expressed here today made to a reasonable degree of

25     musicological certainty?



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  1    A.    Yes.

  2                 MS. COHEN:    No further questions.

  3                 THE COURT:    Okay.   I think we need to take a recess

  4    at this juncture.     Let's take 10 minutes.     It may be 15.     I

  5    apologize in advance.

  6                                (Recess taken.)

  7                         (Jury not present.)

  8                 THE COURT:    Okay.   Ms. Cohen.

  9                 MS. COHEN:    So I have not conveyed this to the

10     witness yet, but instead of having him testify as to what he

11     would have done, we will just make an offer of proof.          I will

12     describe what he would have done, lay the foundation for

13     that, and then she will lodge her objection for the record.

14                  THE COURT:    Okay.   And then cross-examine

15     hopefully.

16                  MS. COHEN:    I think this process was designed to

17     avoid the cross-examination.

18                  MS. LEPERA:    In other words, I think basically what

19     she's going to have the witness describe is essentially what

20     she told to the Court earlier.       I'm gonna describe what I

21     said he's gonna function to do with respect to the sound

22     recordings and we can lodge the objection that way.

23                  THE COURT:    That's fine.

24                  MS. LEPERA:    We could take a half hour with this

25     witness just on this issue.



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  1    A.    They do not line up.

  2    Q.    Okay.   And going back to your, um, testimony on direct

  3    that Ostinato No. 2 grew out of Ostinato No -- um, excuse me.

  4    Ostinato No. 1 grew out of Ostinato No. 2?

  5    A.    Yes.

  6    Q.    And you have no basis of that from your own knowledge of

  7    that in terms of how the Dark Horse writers created the

  8    sequence; correct?

  9    A.    Correct.

10     Q.    So assume for purposes of this discussion that the Dark

11     Horse writers wrote C B A E in the Ostinato No. 1 which you

12     called plainly dissimilar to Joyful Noise and that came

13     first, wouldn't Ostinato No. 2 grow out of it?

14     A.    It's unlikely to me that that would happen given my

15     knowledge of the similarity at several levels, the

16     combination of similarities between the Dark Horse Ostinato

17     No. 2 and Joyful Noise.

18     Q.    When you create a sound recording before vocals are

19     placed on it, isn't it often the case you have to stretch out

20     music so you can make sure the vocals fit in?

21     A.    I don't work in that area.

22     Q.    Okay.   Well, again, we have the same pitches in Ostinato

23     No. 1 as exist in Ostinato No. 2 save repeats; correct?

24     A.    We do have the same pitches.

25     Q.    Now, one of the other things you were asked on direct



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  1    Q.    Dr. Decker?

  2    A.    Yes.

  3    Q.    Ms. Lepera highlighted the fact that other than the

  4    chart that we showed you on page 6 from your report?

  5    A.    Right.

  6    Q.    You did not chart the music from Joyful Noise and Dark

  7    Horse; is that right?

  8    A.    Correct.

  9    Q.    And why is it that you chose not to chart the music

10     other than the one that was provided on page 6 of your

11     report?

12     A.    For several reasons.     One, for clarity.     I think I'm

13     writing this analysis not for fellow music scholars.          So in

14     my publishing and in all of my work when I want to reach a

15     broad audience, especially an audience who doesn't already

16     read music, I try to find ways to express what's happening in

17     the music that don't use musical notation, traditional

18     musical notation.

19                  Because to use traditional musical notations with

20     some readers is to exclude them from the argument.          So in my

21     publications, I regularly use tables and charts, diagrams

22     that describe the experience of a piece.        When I do use

23     musical notation, it tends to be from a popular song where

24     there are lyrics.

25                  So you can, you know, if you can't read music, you



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  1    A.    I do.

  2    Q.    Did Ms. Lepera ever once ask you to listen to the

  3    ostinato in Joyful Noise and Dark Horse?

  4    A.    No.

  5    Q.    Did Ms. Lepera play either song one time in your

  6    cross-examination?

  7    A.    No.

  8    Q.    Did Ms. Lepera ask you to sing the ostinato from Joyful

  9    Noise and Dark Horse once during your cross-examination?

10     A.    No.

11     Q.    If we could pull up again defendant's demonstrative.

12                   Dr. Decker, when Ms. Lepera was asking questions of

13     you regarding what Dr. Ferrara calls Ostinato No. 1 which is

14     the four note ostinato and Ostinato No. 2 which is the eight

15     note ostinato from Dark Horse, do you recall that she drew

16     your attention to the similarities between note 1, the C

17     where the B notes line up, the A and the E?

18     A.    Right, yes.

19     Q.    Is it controversial to you that there's a C B A E in

20     both of those ostinatos?

21     A.    No.

22     Q.    And was it your testimony earlier today that instead of

23     the second ostinato as described by Dr. Ferrara being born

24     from the first, that the opposite is true in your mind?

25     A.    By my analysis the first ostinato comes -- is a



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  1    development of materials in the second.

  2    Q.      And in that regard, is your opinion informed by the fact

  3    that these notes and these scales line up in this way that

  4    Ms. Lepera outlined?

  5    A.      Completely.    So the way I get to that understanding is

  6    by noting that there are eight notes in Ostinato 2 and there

  7    are only four pitches.       So that if you were playing with

  8    these notes and you said, let's remove the repetitions.          What

  9    have we got?       You've have those four pitches.    You say the

10     array of pitches, the set of pitches in these two ostinatos

11     is identical; right?       Four pitches.   Third, second, first and

12     fifth scale degrees so that relationship is of the essence

13     here.

14     Q.      Will you sing for us again the eight note ostinato from

15     Dark Horse in the scale degree?

16     A.      Sure.    3 3 3 3 2 2 1, 3 3 3 3 2 2 1 5.

17     Q.      And now will you sing the four note ostinato?

18     A.      3 2 1 5, 3 2 1 5, 3 2 1 5.

19     Q.      Can we pull up, again, the chart that Ms. Lepera focused

20     on that includes Merrily We Roll Along, Jolly Old Saint

21     Nicholas, Joyful Noise and Dark Horse, please?

22                     Dr. Decker, we talked at length about the ostinato

23     in Joyful Noise and whether it's similar to the ostinato in

24     Dark Horse; is that right?

25     A.      Yes.



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  1    Q.    Is there any one feature in particular that you looked

  2    at in isolation that caused you to determine that the works

  3    were substantially similar?

  4    A.    No one single, um, element.      I think as I noted, the

  5    arguments about musical borrowing require multiple

  6    parameters.    So is the rhythm the same?      Are the scale

  7    degrees the same?     Does it play a similar role structurally

  8    in the piece?

  9                Then there's other elements like its placement in a

10     texture or the tambor that can support that.         I would say the

11     bedrock for me here is the similar phrase lengths.          The

12     identical phrase lengths, the identical rhythm.         The almost

13     identical pitches.     You know, the repetition pattern of four

14     3s followed by a step down to 2 in the minor mode.          The

15     combination of these things is what convinced me.

16                 Any single one of those would not have been enough.

17     It's the combination of them.       And I think, too, the

18     insistence in both pieces that you feel on the repetition of

19     this melody.    You hear it -- of this ostinato.       You hear it

20     over and over again.     So that the, um, the piece itself, you

21     know, the repetition also draws attention to the similarity.

22     So it's a combination.      It's always a combination and it's

23     always in a context.

24     Q.    And so Ms. Lepera isolated for you various features of

25     these works; right?



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  1    songs that we're concerned, the ostinatos we're concerned

  2    with have eight; is that right?

  3    A.      Correct.

  4    Q.      Can you do the same thing that you just did, sing each

  5    of these songs, but include the next two notes 7 and 8?

  6    A.      For all four songs?

  7    Q.      Yes, please.

  8    A.      I'd like to go to the end of the phrase for the first

  9    two songs just to round out cause I don't want to stop in the

10     middle.    We'll all feel unsettled.

11                     MS. LEPERA:    I object to that.

12                     THE WITNESS:   Then I'll just stop at the phrase.

13     Just the 7th and 8th notes of Merrily and Jolly?

14                     MS. COHEN:    All four songs, eight notes.

15                     THE WITNESS:   Eight notes for all four songs.

16     Okay.    Merrily, 3 3 3 3 2 2 3 2.       Jolly 3 3 3 3 2 2 2 1.

17     Joyful 3 3 3 3 2 2 2 1.         3 3 3 3 2 2 2 6.

18     Dark 3 3 3 3 2 2 1 5, 3 3 3 3 2 2 1 5.

19     BY MS. COHEN:

20     Q.      And as you testified before, both Joyful Noise and Dark

21     Horse would swing back up again to the 3?

22     A.      Right.

23     Q.      Okay.    Does the same thing happen in Merrily We Roll

24     Along and Jolly Old Saint Nicholas?

25     A.      In Merrily We Roll Along, this group of six notes



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  1    happens at the end of the song as in Mary Had a Little Lamb,

  2    it's the same tune as Mary Had a Little Lamb.         It's little

  3    lamb its fleece.     So Merrily We Roll Along here, when it uses

  4    these six scale degrees is headed towards a conclusion;

  5    right?   It's a part in the middle of the song.

  6                  Jolly Old Saint Nicholas these are the opening

  7    notes of the tune.     So they continue on to end the first line

  8    of the tune, the first four bars of the tune.

  9    Q.    Okay.    And the ostinatos that we're talking about in the

10     two songs Joyful Noise and Dark Horse, that's a repeating

11     eight note phrase?

12     A.    Right, it's a repeating figure.       And for instance, in

13     the case of Joyful Noise, it repeats through the whole track.

14     So it starts and it just keeps on rolling.         Dark Horse it

15     repeats in certain sections of the song in the verses is when

16     it appears.

17     Q.    And is the same true of Merrily We Roll Along and Jolly

18     Old Saint Nicholas?

19     A.    No.

20     Q.    And is that significant to you?

21     A.    Context is important so this is extremely significant.

22     It's the ostinato identity that's at issue here.         Finding

23     these six notes in a tune in the wrong mode does not for me

24     creat a connection between these four songs.

25     Q.    So although you have opined that Joyful Noise and Dark



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